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                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION
                                            www.flmb.uscourts.gov


    In re :                                                                           Case No. 6:19-bk-02428-KSJ
                                                                                      Chapter 7

    Maria Rivera,
                            Debtor(s).
    ____________________________________/

                 MOTION FOR ORDER APPROVING SALE OF ESTATE’S INTEREST IN
                         REAL ESTATE IN ORANGE COUNTY, FLORIDA

              Trustee, Marie E. Henkel, by and through her undersigned counsel, moves this Court for authority
    to sell the estate’s interest in real property on the following terms :
    1. The property to be sold is the estate’s interest in residential real estate in Orange County, Florida, said
        real estate being more particularly described as follows :
                    NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

            Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
   notice or hearing unless a party in interest files a response within twenty-one (21) days from the date set forth on
   the attached proof of service, plus an additional three days for service if any party was served by U.S. Mail. You
   should read these papers carefully and discuss them with your attorney, if you have one. If the paper is an objection
   to your claim in this bankruptcy case, your claim may be reduced, modified or eliminated.

            If you object to the relief requested in this paper, you must file a response with the Clerk of the U.S.
   Bankruptcy Court, 400 W. Washington St., Ste. 5100, Orlando, FL 32801 and serve a copy on Marie E. Henkel,
   Trustee, 3560 S. Magnolia Ave., Orlando, FL 32806; Kristen L. Henkel, Esq., 3560 S. Magnolia Ave., Orlando, FL
   32806; and on U. S. Trustee, 400 W. Washington St., Ste. 1100, Orlando, FL 32801.

            If you file and serve a response within the time permitted, the Court will either schedule and notify you of
   a hearing, or consider the response and grant or deny the relief requested without hearing. If you do not file a
   response within the time permitted, the Court will consider that you do not oppose the relief requested in the paper,
   will proceed to consider the paper without further notice or hearing, and may grant the relief requested.




    Lot 20, Block 7, TANGELO PARK SECTION FIVE, according to the plat thereof as recorded in
    Plat Book Y, Page 61, Public Records of Orange County, Florida.

   Parcel ID 30-23-29-8557-07200
   a/k/a 4903 Polaris St., Orlando, FL 32819


2. Manner of Sale : The buyer has been procured through the efforts of the estate’s realtors, BK Global Real
                 Estate Services and Hanisha Kavita Uttamchandani, of Century 21 Carioti. The buyer has



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                  made an earnest money deposit in the amount of $1,305.00, and is ready to complete the
                  purchase for the sales price indicated below, upon approval of the sale by the Court. Trustee
                  proposes to convey whatever interest the Estate has in the property to the Buyer upon approval
                  of this Motion.
3. Terms of Sale :
    a. Buyer :         Adiken LLC
                       3956 Town Center Blvd., Unit 272
                       Orlando, FL 32837

    b. Sales Price : $115,800.00
    c. Appraised Value : The property is assessed by the Orange County Property Appraiser at $101,849.00.
    d. Costs of Sale : The estate has agreed to pay the following costs associated with transfer of title :
              Real Estate Commission & Costs                           $ 6,948.00
              Closing Fee (includes overnight courier & wire fees)          850.00
              Title Search & Title Insurance                                754.00
              2019 Real Estate Taxes                                      1,712.02 *
              Documentary Stamp Tax on Deed                                 810.60
              Obtaining & recording bankruptcy documents                    236.50 *
              Record Releases/Affidavits/Dismissal                          106.50 *
              Payoff Child Support Judgment                               1,200.00 *
              Payoff Certified Judgment                                   1,500.00 *
              Final Utility Bills                                           750.00 *
              Municipal Lien Search & Payoff                                400.00 *
              Mortgage Payoff to Deutsche Bank                           85,000.00 *
              Total                                                   $100,267.62
    * estimate
    The net proceeds to the estate are approximately $15,532.38. The trustee believes this sale to be of benefit
    to the estate.
    e. Trustee intends to transfer title to the property by trustee’s deed, subject to current year’s taxes,
    assessments, zoning, restrictions, and other requirements imposed by governmental authorities, and other
    matters appearing on the plat or otherwise common to the subdivision, and public utility easements of public
    record.
    f. The estate will provide a trustee’s deed to the buyer and certified copies of the Order approving sale,
    Notice of Commencement of bankruptcy and of the docket, reflecting no objections to the sale, or if any,
    that said objections were overruled by Court Order. Trustee is unaware of the existence of any liens or



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encumbrances on the property, except as disclosed above. Under separate application, a commission on
the sale will be sought by the realtors, in the amount of $6,948.00. Therefore, the net proceeds to the estate
from the sale, will be approximately $15,532.38. There are no adverse tax consequences of the sale to the
estate.
g. The Trustee respectfully requests that this Court: (a) waive the 14-day stay pursuant to Rule 6004(h),
deem the sale order enforceable immediately upon entry, and authorize the Trustee to close on the sale
immediately upon entry of the Final Sale Order; (b) authorize the Trustee to take all actions and execute all
documents she deems reasonable, necessary and/or desirable to effectuate the requested relief; (c) retain
sole and exclusive personal subject matter jurisdiction to implement, interpret and enforce the terms of this
Motion and the Final Sale Order; and (d) adjudicate all claims, controversies and/or disputes arising from
or related to this sale.
          WHEREFORE, Trustee moves this Court to enter an Order authorizing the sale of the property as
set forth above and waiving the 14-day stay pursuant to Rule 6004(h).
          I HEREBY CERTIFY that a true and correct copy of the foregoing Motion was furnished by first
class United States Mail, postage prepaid, or by electronic delivery, on October 7, 2019, to Adiken LLC,
3956 Town Center Blvd., Unit 272, Orlando, FL 32837; and to all persons on the mailing matrix, attached
to the original of this document, as furnished by the Clerk’s office on October 7, 2019.


                                                  /s/ Kristen L. Henkel
                                                  Kristen L. Henkel, Esq.
                                                  Florida Bar No. 81858
                                                  M. E. Henkel, P.A.
                                                  3560 South Magnolia Avenue
                                                  Orlando, Florida 32806
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